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                                                                   [PUBLISH]
                                        In the
                  United States Court of Appeals
                            For the Eleventh Circuit

                              ____________________

                                     No. 21-12583
                              ____________________



         SPEECH FIRST, INC.,
                                                            Plaintiff-Appellant,
         versus
         ALEXANDER CARTWRIGHT,
         in his individual capacity and his official capacity
         as President of the University of Central Florida,


                                                          Defendant-Appellee,


         DANA JUNTENEN,
         in her official capacity as Director of the
         University of Central Florida Office of Student
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         Rights and Responsibilities and Assistant
         Dean of Students, et al.,


                                                                      Defendants.


                                 ____________________

                      Appeal from the United States District Court
                           for the Middle District of Florida
                       D.C. Docket No. 6:21-cv-00313-GAP-GJK
                               ____________________

         Before NEWSOM and MARCUS, Circuit Judges, and STORY,∗ District
         Judge.
         NEWSOM, Circuit Judge:
                The Court sua sponte VACATES its prior opinion, pub-
         lished at __ F.4th ___, 2022 WL 1192438 (11th Cir. Apr. 21, 2022),
         and substitutes the following in its place.
                                             * * *
               In this appeal from the denial of a request for a preliminary
         injunction, we are asked to decide whether two speech-related


         ∗ Honorable Richard W. Story, United States District Judge for the Northern
         District of Georgia, sitting by designation.
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         policies promulgated by the University of Central Florida—one
         that prohibits multiple forms of expression that are deemed to con-
         stitute “discriminatory harassment” and another that aims to ad-
         dress so-called “bias-related incidents”—likely violate the First
         Amendment. We must also decide, as a threshold matter, whether
         the plaintiff—an organization called Speech First, Inc.—has stand-
         ing to challenge the policies’ constitutionality.
                We hold (1) that Speech First has standing to sue because
         the challenged policies chill its members’ speech and (2) that the
         discriminatory-harassment policy likely violates the First Amend-
         ment on the grounds that it is an overbroad and content- and view-
         point-based regulation of constitutionally protected expression.
         Because the district court never considered the bias-related-inci-
         dents policy’s constitutionality on the merits—having erroneously
         concluded that Speech First lacked standing to challenge it—we re-
         mand for a determination of that issue.
                                          I
                                          A
                Speech First, Inc. is a voluntary member organization dedi-
         cated to protecting students’ free-speech rights. It represents stu-
         dents who attend universities across the country, including the
         University of Central Florida. Several of Speech First’s UCF-based
         members have attested that they desire to express their beliefs and
         opinions about a range of topics but are inhibited from doing so by
         two University policies, which we’ll call the “discriminatory-
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         harassment” and “bias-related-incidents” policies, respectively, and
         which we’ll describe in detail below.
                 One student, for instance—identified as “Student A” in
         Speech First’s complaint—says that he wishes to express his views
         that “abortion is immoral,” that the government “should not be
         able to force religious organizations to recognize marriages with
         which they disagree,” that “affirmative action is deeply unfair,” that
         “a man cannot become a woman because he ‘feels’ like one,” and
         that “illegal immigration is dangerous.” He asserts that he desires
         to “speak passionately” about those (and other) topics, that he
         wishes to “engage in open and robust intellectual debate” about
         them, and that he hopes to “encourage [other students] to change
         their minds or, at a minimum, to understand his views.” Finally,
         he says that he “does not fully express himself or talk about certain
         issues because he fears” that sharing his beliefs may subject him to
         the University’s discriminatory-harassment policy, bias-related-in-
         cidents policy, or both. Two other UCF students—identified as
         “Student B” and “Student C”—have expressed similar desires and
         fears.
                                           B
                Before we go any further, we should describe the challenged
         policies in some detail. Rather than characterize them—and in the
         interest of providing the fullest possible context—we will lay out
         their relevant provisions in full.
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                                          1
                First, the discriminatory-harassment policy. As its name in-
         dicates, the policy prohibits “discriminatory harassment,” which it
         defines in the following terms:
               Discriminatory harassment consists of verbal, physi-
               cal, electronic or other conduct based upon an indi-
               vidual’s race, color, ethnicity, national origin, reli-
               gion, non-religion, age, genetic information, sex (in-
               cluding pregnancy and parental status, gender iden-
               tity or expression, or sexual orientation), marital sta-
               tus, physical or mental disability (including learning
               disabilities, intellectual disabilities, and past or pre-
               sent history of mental illness), political affiliations,
               veteran’s status (as protected under the Vietnam Era
               Veterans’ Readjustment Assistan[ce] Act), or mem-
               bership in other protected classes set forth in state or
               federal law that interferes with that individual’s edu-
               cational or employment opportunities, participation
               in a university program or activity, or receipt of legit-
               imately-requested services meeting the description of
               either Hostile Environment Harassment or Quid Pro
               Quo Harassment, as defined [below].
               Discriminatory harassment may take many forms, in-
               cluding verbal acts, name-calling, graphic or written
               statements (via the use of cell phones or the Internet),
               or other conduct that may be humiliating or physi-
               cally threatening.
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              The policy, in turn, defines “Hostile Environment Harass-
         ment” as follows:
               Discriminatory harassment that is so severe or perva-
               sive that it unreasonably interferes with, limits, de-
               prives, or alters the terms or conditions of education
               (e.g., admission, academic standing, grades, assign-
               ment); employment (e.g., hiring, advancement, as-
               signment); or participation in a university program or
               activity (e.g., campus housing), when viewed from
               both a subjective and objective perspective.

               The policy states that “[i]n evaluating whether a hostile en-
         vironment exists, the university will consider the totality of known
         circumstances, including, but not limited to” the following factors:

               • The frequency, nature and severity of the conduct;
               • Whether the conduct was physically threatening;
               • The effect of the conduct on the complainant’s men-
               tal or emotional state;
               • Whether the conduct was directed at more than one
               person;
               • Whether the conduct arose in the context of other
               discriminatory conduct or other misconduct;
               • Whether the conduct unreasonably interfered with
               the complainant’s educational or work performance
               and/or university programs or activities; and
               • Whether the conduct implicates concerns related to
               academic freedom or protected speech.
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                 The policy’s definition of “Hostile Environment Harass-
         ment” goes on to state (1) that “[a] hostile environment can be cre-
         ated by pervasive conduct or by a single or isolated incident, if suf-
         ficiently severe,” (2) that “[t]he more severe the conduct, the less
         need there is to show a repetitive series of incidents to prove a hos-
         tile environment, particularly if the conduct is physical,” and
         (3) that “an isolated incident, unless sufficiently serious, does not
         amount to Hostile Environment Harassment.”
                There is one last piece of the discriminatory-harassment
         puzzle. Referencing the discriminatory-harassment policy, UCF’s
         Student Handbook states that “[s]tudents are prohibited” not only
         from engaging in the prohibited conduct themselves, but also from
         “[c]ondoning or encouraging acts of harmful behavior as defined
         [in the discriminatory-harassment policy] or failing to intervene
         during an act of harmful behavior while it is occurring.”
                                        * * *
                So, in sum: The discriminatory-harassment policy prohibits
         “verbal, physical, electronic, or other conduct” based on a long list
         of characteristics including, among others, “religion [or] non-reli-
         gion,” “genetic information,” and “political affiliation[].” The pol-
         icy applies to any conduct that, for instance, “unreasonably . . . al-
         ters” another student’s “participation in a university program or
         activity.” It specifies that discriminatory harassment “may take
         many forms”—including, broadly, “verbal acts, name-calling,
         graphic or written statements . . . or other conduct that may be hu-
         miliating”—and it utilizes a “totality of known circumstances” ap-
         proach, based on a non-exhaustive list of factors, to determine
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         whether a speaker’s expression satisfies the “unreasonabl[e] . . . al-
         ter[ation]” standard. Lastly, the policy prohibits students not only
         from committing the specified acts, but also from “[c]ondoning,”
         “encouraging,” or even “failing to intervene” to stop them.
                                           2
                 Separate from the discriminatory-harassment policy—but
         seemingly aimed at addressing similar issues—UCF maintains a
         policy which seeks to prevent and redress what it calls “bias-related
         incidents.” The “Bias-Related Incidents” policy has several parts.
         First, it defines the key term—“bias-related incident”—as follows:

                A bias-related incident is any behavior or action di-
                rected towards an individual or group based upon ac-
                tual or perceived identity characteristics or back-
                ground. This bias motivates an individual to act in an
                offensive manner towards an individual or group in-
                cluding but not limited to: race, sex (including gender
                identity/expression), color, religion, ancestry, na-
                tional origin, age, disability, veteran status, military
                status, or sexual orientation. Such acts may result in
                creating a hostile environment and may have a nega-
                tive psychological, emotional, or physical impact on
                an individual, group, and/or community.

                Second, the policy provides that “[b]ias-related incidents oc-
         cur without regard to whether the act is legal, illegal, intentional,
         or unintentional,” and that such an incident need “not necessarily
         rise to the level of a crime, a violation of state law, university
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         policy, or the student code of conduct.” Rather, a “bias act” is one
         that “may contribute to creating an unsafe, negative, unwelcoming
         environment [for] the victim, or anyone who shares the same so-
         cial identity as the victim, and/or community members at the uni-
         versity.”
                 Third, the bias-related-incidents policy states that “[i]nci-
         dents which occur on campus that are not covered by formal poli-
         cies and procedures but have the effect of harming individuals or
         groups may be addressed by the Just Knights Response Team
         (JKRT) protocol”—of which more below. That “protocol may be
         initiated in cases when it is clear that the incidents have harmful
         effects on persons or groups based upon their race, sex (including
         gender identity/expression), color, religion, ancestry, national
         origin, age, disability, veteran status, military status, or sexual ori-
         entation.”
                Finally, the policy provides a non-exhaustive list of “types of
         bias-related incidents.” They “may include (but are not limited to)”
         any of 13 behaviors, ranging from “physical injury” and “stalking,”
         on one end of the spectrum, to “graffiti [and] signs,” “confronta-
         tion,” and “gestures,” on the other end.
                As just noted, the bias-related-incidents policy is imple-
         mented by the JKRT, which is made up of UCF students, faculty,
         and staff. University staff members who serve on the JKRT include
         representatives from the offices of Student Development and En-
         rollment Services, Housing and Residence Life, Social Justice and
         Advocacy, Faculty Relations, and the UCF Police Department.
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                UCF’s website describes the JKRT as follows:
                The JKRT . . . is here to provide assistance in the un-
                fortunate event that you have experienced or wit-
                nessed a hate or bias related incident. This site is de-
                signed to allow the reporting of bias incidents to the
                JKRT team to ensure the most appropriate university
                response.
                UCF is also committed to tracking patterns of bias
                and other incidents at the University that might pre-
                vent the community from thriving. It is our goal, as
                a team, to effect positive change in our campus com-
                munity by providing a platform for individuals to re-
                port hurtful actions that have occurred. In return, we
                will create an open and transparent university com-
                munity response to the handling of these incidents.
                JKRT is intended to be a resource for anyone who
                wants to examine issues of bias, discrimination, or
                hate. Whatever your reasons are for visiting this site,
                please be assured that UCF holds as one of its goals to
                create a more inclusive and diverse campus. We are
                also committed to providing a safe and welcoming
                living and learning community for all our students.

               The website goes on to explain the JKRT’s “Purpose State-
          ment” in the following terms:
                The purpose of the Just Knights Response Team
                (JKRT) is to act as a clearinghouse for any bias-related
                incidents that may occur on UCF campuses. In this
                role, the JKRT will receive, monitor, refer, and, as
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                necessary, coordinate university resources to these
                incidents that impact the university community.
                The team, made up of UCF faculty, staff, and stu-
                dents, provides a safe space for students, who are wit-
                nesses to or targets of bias, to communicate experi-
                ences, to ensure comprehensive responses, and pro-
                actively address issues of civility and respect.

          And it describes the JKRT’s “Policy” as follows:

                The Just Knights Response Team (JKRT) is an inter-
                divisional team that assesses bias inciden[ts] in order
                to coordinate university resources for the creation of
                effective interventions and future incident prevention
                programming. The JKRT creates timely interven-
                tions to incidents that are sensitive to the rights of all
                parties involved. It is intended that any JKRT pro-
                gramming or intervention will be educational at its
                core. It will involve a variety of activities including
                discussion, mediation, training, counseling and con-
                sensus building. Through the voluntary participation
                of the persons involved in and impacted by bias inci-
                den[ts], the JKRT’s interventions and prevention pro-
                gramming will foster a sense of civility and campus
                community encompassing respect and understanding
                that supports a multicultural and diverse campus en-
                vironment.

                 A student who feels that he has been the victim of a bias-
          related incident can report it anonymously through a complaint
          form on the JKRT’s website. The complainant is directed to
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          describe the incident (date, location, etc.), to “list the individuals
          involved,” and to specify his or her “desired outcome.” The JKRT’s
          website warns that the information provided by a complainant
          “may be shared with the Office of Student Conduct,” the “Office of
          Student Rights and Responsibility,” or the “UCF Police Depart-
          ment.”1


          1 When a UCF student is reported to have engaged in a bias-related incident,
          the JKRT sends that student the following email:
                 Greetings,
                          My name is {INSERT NAME}. The University of Cen-
                 tral Florida is committed to tracking patterns of bias and other
                 incidents at the university that might prevent the community
                 from thriving. I am a university employee who serves on the
                 Just Knights Response Team (JKRT).
                         The Just Knights Response Team (JKRT) is an inter-
                 divisional team that assesses bias incidences in order to coordi-
                 nate university resources for the creation of effective interven-
                 tions and future incident prevention programming. The JKRT
                 creates timely interventions for incidents that are sensitive to
                 the rights of all parties involved. It is intended that any JKRT
                 programming or intervention will be educational at its core.
                 Interventions involve a variety of activities including discus-
                 sion, mediation, training, counseling, and consensus-building.
                 Through the voluntary participation of the persons involved
                 in and impacted by bias incidences, the JKRT’s interventions
                 and prevention programming will foster a sense of civility and
                 campus community encompassing respect and understanding
                 that supports a multicultural and diverse campus environ-
                 ment.
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                                           * * *
                 So again, to sum up: The bias-related-incidents policy cre-
          ates a mechanism by which a UCF student can be anonymously
          accused of an act of “hate or bias”—i.e., an “offensive” act, even if
          “legal” and “unintentional,” that is directed toward another based
          on any of a number of characteristics that echo (but do not


                         Please note, JKRT is not an extension of UCF Human
                Resources nor the Office of Student Rights and Responsibili-
                ties. We have no authority to dispense punitive measures. We
                value anonymity and privacy, however, at times there is cer-
                tain information that we must disclose to other university of-
                ficers (ex. Title IX violations, criminal activity and/or immi-
                nent threats).
                       We have received a report of an incident you may have
                been involved in or reported. I would like the opportunity to
                speak with you regarding this matter. Your participation is
                voluntary.
                        If you are interested in speaking with me, please reply
                back with a preferred contact number. I will call you to sched-
                ule a time for us to meet or speak via the phone. If I do not
                receive a reply within two weeks, I will assume you do not
                have an interest in speaking with me and will close out this
                JKRT case.
                       I look forward to hearing from you.
                {INSERT NAME}
                University of Central Florida
                jkrt@ucf.edu
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          precisely mirror) those listed in the discriminatory-harassment pol-
          icy. The JKRT “monitor[s]” and “track[s]” bias-related incidents,
          “coordinate[s] university resources,” marshals a “comprehensive
          response[],” and, where necessary, coordinates “interventions”
          among affected parties.
                                             C
                 Speech First brought suit in the Middle District of Florida,
          contending (as relevant here) that the discriminatory-harassment
          and bias-related-incidents policies violate the First Amendment. In
          particular, Speech First alleged that both policies are unconstitu-
          tionally overbroad and that the discriminatory-harassment policy
          also impermissibly restricts speech based on content and view-
          point.
                  Shortly after filing suit, Speech First sought a preliminary in-
          junction, which the district court refused. As an initial matter, the
          court held that Speech First lacked Article III standing to challenge
          the bias-related-incidents policy. The court reasoned that because
          the JKRT, which implements the policy, “has no authority to disci-
          pline students and cannot compel students to engage with it,” its
          conduct cannot (absent evidence to the contrary) “objectively
          chill” student expression. Accordingly, the court concluded that
          Speech First had “failed to show that the JKRT creates a reasonable
          fear of prosecution” and, therefore, had failed to “establish its
          [m]embers’ standing to challenge the JKRT at the preliminary in-
          junction stage.” The district court held that Speech First had stand-
          ing to challenge the discriminatory-harassment policy because
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          “UCF can discipline students for violating” it, but it rejected Speech
          First’s arguments on the merits. In particular, the court held that
          the policy could “only be read to reach unprotected conduct” and,
          accordingly, that Speech First’s members “cannot reasonably be-
          lieve that they would be punished for simply expressing unpopular
          viewpoints.”2
                                                II
                 We begin, as we must, by determining whether Speech First
          has the requisite standing to challenge UCF’s policies. An associa-
          tion like Speech First “has standing to bring suit on behalf of its
          members when its members would otherwise have standing to sue
          in their own right, the interests at stake are germane to the organ-
          ization’s purpose, and neither the claim asserted nor the relief re-
          quested requires the participation of individual members in the
          lawsuit.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC),
          Inc., 528 U.S. 167, 181 (2000). Here, all seem to agree that the



          2 “We review standing determinations de novo.” BBX Cap. v. Fed. Deposit
          Ins. Corp., 956 F.3d 1304, 1312 (11th Cir. 2020) (per curiam). We review “the
          district court’s decision to deny a preliminary injunction for abuse of discre-
          tion, though we review and correct errors of law without deference to the
          district court.” Brown v. Sec’y, U.S. Dep’t of Health & Hum. Servs., 4 F.4th
          1220, 1224 (11th Cir. 2021) (quotation marks omitted). “A district court abuses
          its discretion when its factual findings are clearly erroneous, when it follows
          improper procedures, when it applies the incorrect legal standard, or when it
          applies the law in an unreasonable or incorrect manner.” Wreal, LLC v. Am-
          azon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016).
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          standing question turns on whether Speech First’s members would
          have standing to sue on their own.
                                           A
                The tripartite test for Article III standing, as articulated by
          the Supreme Court, is well known:
                First, the plaintiff must have suffered an injury in
                fact—an invasion of a legally protected interest which
                is (a) concrete and particularized, and (b) actual or im-
                minent, not conjectural or hypothetical. Second,
                there must be a causal connection between the injury
                and the conduct complained of—the injury has to be
                fairly traceable to the challenged action of the defend-
                ant, and not the result of the independent action of
                some third party not before the court. Third, it must
                be likely, as opposed to merely speculative, that the
                injury will be redressed by a favorable decision.

          Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992) (cleaned up);
          see also Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016); TransUn-
          ion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). “[E]ach element
          must be supported in the same way as any other matter on which
          the plaintiff bears the burden of proof, i.e., with the manner and
          degree of evidence required at the successive stages of the litiga-
          tion.” Lujan, 504 U.S. at 561. Because this case hasn’t progressed
          past the pleading stage, “general factual allegations of injury” may
          suffice so long as they “plausibly and clearly allege a concrete
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          injury.” Muransky v. Godiva Chocolatier, Inc., 979 F.3d 917, 924
          (11th Cir. 2020) (en banc) (quotation omitted).
                 There is no doubt—or dispute—that the members’ claimed
          injury is “concrete and particularized” within the meaning of what
          we’ll call Lujan’s prong (1a) because they have alleged a depriva-
          tion of their First Amendment right to free speech. See Pedro v.
          Equifax, Inc., 868 F.3d 1275, 1279 (11th Cir. 2017) (“[V]iolation of
          the right to free speech . . . can be concrete.”); Otto v. City of Boca
          Raton, 981 F.3d 854, 870 (11th Cir. 2020) (same); see also Spokeo,
          578 U.S. at 340 (citing Pleasant Grove City v. Summum, 555 U.S.
          460 (2009) for the proposition that free-speech violations are con-
          crete injuries); TransUnion, 141 S. Ct. at 2204 (same). Nor is there
          any real dispute that the members’ injury is “traceable” to UCF’s
          policies within the meaning of Lujan’s prong (2) or that it is “re-
          dress[able]” within the meaning of prong (3).
                  The standing question here thus turns on whether the mem-
          bers’ injury is “imminent, not conjectural or hypothetical,” within
          the meaning of Lujan’s prong (1b). In answering that question, we
          must first acknowledge a bit of dissonance in the doctrine. In Susan
          B. Anthony List v. Driehaus, the Supreme Court enumerated three
          criteria that, as a general matter, govern a plaintiff’s standing to
          bring the sort of pre-enforcement challenge that Speech First has
          brought here: The plaintiff must show (1) that he has “an intention
          to engage in a course of conduct arguably affected with a constitu-
          tional interest,” (2) that his conduct is “arguably proscribed,” and
          (3) that he is subject to “a credible threat of enforcement.” 573 U.S.
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          149, 159, 162 (2014) (cleaned up). The district court here held that
          Speech First’s standing turned on the third, credible-threat-of-en-
          forcement requirement: Because “UCF can discipline students for
          violating” the discriminatory-harassment policy, it reasoned that
          Speech First had standing to challenge it; but because “the JKRT
          does not have the independent authority to discipline students,” it
          concluded that Speech First lacked standing to challenge the bias-
          related-incidents policy.
                  Before addressing the district court’s conclusions, we pause
          to clarify our own pre-enforcement-challenge doctrine, at least as
          it applies in First Amendment cases. We have long emphasized
          that “[t]he injury requirement is most loosely applied—particularly
          in terms of how directly the injury must result from the challenged
          governmental action—where [F]irst [A]mendment rights are in-
          volved, because of the fear that free speech will be chilled even be-
          fore the law, regulation, or policy is enforced.” Hallandale Pro.
          Fire Fighters Loc. 2238 v. City of Hallandale, 922 F.2d 756, 760
          (11th Cir. 1991). More recently—and specifically—we held that
          “[l]itigants who are being ‘chilled from engaging in constitutional
          activity’ . . . suffer a discrete harm independent of enforcement,
          and that harm creates the basis for our jurisdiction.” Dana’s R.R.
          Supply v. Att’y Gen., Fla., 807 F.3d 1235, 1241 (11th Cir. 2015).
          Therefore—and most recently—we stressed that “[w]here the al-
          leged danger of legislation is one of self-censorship, harm can be
          realized even without an actual prosecution.” Wollschlaeger v.
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          Governor, Fla., 848 F.3d 1293, 1305 (11th Cir. 2017) (en banc) (quo-
          tation marks omitted).
                  Accordingly, to determine whether a First Amendment
          plaintiff has standing, we simply ask whether the “operation or en-
          forcement,” Georgia Latino All. for Hum. Rts. v. Governor of Ga.,
          691 F.3d 1250, 1257 (11th Cir. 2012) (cleaned up), of the govern-
          ment policy would cause a reasonable would-be speaker to “self-
          censor[],” Wollschlaeger, 848 F.3d at 1305—even where the policy
          “fall[s] short of a direct prohibition against the exercise of First
          Amendment rights,” Laird v. Tatum, 408 U.S. 1, 11 (1972). In mak-
          ing that assessment, the threat of formal discipline or punishment
          is relevant to the inquiry, but it is not decisive. The fundamental
          question under our precedent—as well as under the precedent of
          other courts that have decided similar “speech code” cases—is
          whether the challenged policy “objectively chills” protected ex-
          pression. See, e.g., Speech First, Inc. v. Fenves, 979 F.3d 319, 330–
          35 (5th Cir. 2020) (holding, in campus-speech case, that fear of the
          investigative process is sufficient to create an “objective chill” that
          gives rise to standing); Speech First, Inc. v. Schlissel, 939 F.3d 756,
          764 (6th Cir. 2019) (same); Speech First, Inc. v. Killeen, 968 F.3d
          628, 639 n.1 (7th Cir. 2020) (acknowledging, in campus-speech case,
          that there is “some degree of overlap” between the “credible
          threat” and “objective chill” inquiries).
                                            B
                As already noted, Speech First challenges two UCF policies.
          For reasons we will explain, because the application of those
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          policies objectively chills its members’ speech, Speech First has
          standing to challenge both.
                                            1
                  We begin with whether Speech First has standing to chal-
          lenge the discriminatory-harassment policy. The district court held
          that it did. We agree.
                 The discriminatory-harassment policy objectively chills
          speech because its operation would cause a reasonable student to
          fear expressing potentially unpopular beliefs. As already explained,
          UCF’s discriminatory-harassment policy prohibits a broad swath of
          expressive activity—both “verbal” and “electronic”—touching on
          any of a number of characteristics, including “race,” “national
          origin,” “religion [or] non-religion,” “genetic information,” “sex,”
          and “political affiliation[].” The policy says that the prohibited
          speech “may take many forms, including verbal acts, name-calling,
          graphic or written statements,” or, even more broadly, “other con-
          duct that may be humiliating.” And it uses a “totality of known
          circumstances” approach, based on a long but non-exhaustive list
          of factors, to determine whether speech “unreasonably . . . alters,”
          among other things, a student’s “participation in a university pro-
          gram.” Expanding its reach even further, the policy prohibits stu-
          dents not only from engaging in prohibited speech themselves, but
          also from “encouraging” or “condoning” other students’ speech, or
          even “failing to intervene” to stop it. And further still, the student
          code of conduct states that the rules contained therein—including
          the discriminatory-harassment policy—“should be read broadly
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          and are not designed to define prohibited conduct in exhaustive
          terms.”
                  The discriminatory-harassment policy’s imprecision exacer-
          bates its chilling effect. To take just one example, what does it
          mean for one student’s speech to “unreasonably . . . alter[]” an-
          other student’s educational experience? Both terms—“unreasona-
          bly” and “alter[]”—are pretty amorphous, their application would
          likely vary from one student to another, and the University’s total-
          ity-of-known-circumstances approach to determining whether par-
          ticular speech crosses the line only makes matters worse. To be
          clear, these concerns aren’t speculative. At oral argument, we
          asked the University’s lawyer a series of questions about whether
          particular statements would violate the discriminatory-harassment
          policy: (1) “abortion is immoral”; (2) “unbridled open immigration
          is a danger to America on a variety of levels”; and (3) “the Palestin-
          ian movement is antisemitic.” 3 To his considerable credit—but to



          3   In full:
                 1. “Suppose I were to distribute pamphlets at a time that the university
                    allows me to, or suppose I were to be permitted to speak at a time and
                    a place the University allows me to speak, and I were to say that in my
                    view, abortion is immoral, it’s a sin against God, and it will yield eter-
                    nal damnation. Suppose I were to hold that view. It’s a religious view.
                    It’s a view that I’m expressing through speech at a time and a place
                    that the University allows me to speak. Would that run me afoul of
                    the harassment policy?” Oral Arg. at 29:10–29:57.
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          the policy’s considerable discredit—he candidly acknowledged that
          while “it d[id] not sound to [him]” like the speech would be pro-
          scribed under the policy, he couldn’t say for sure because “the Uni-
          versity will consider all the facts and circumstances there” and be-
          cause he couldn’t “prejudge everything.” Oral Arg. at 28:43–33:55.
          If UCF’s own attorney—as one intimately familiar with the Univer-
          sity’s speech policies—can’t tell whether a particular statement
          would violate the policy, it seems eminently fair to conclude that
          the school’s students can’t either.
                  Although it arose in a different context, our decision in Har-
          rell v. Florida Bar, 608 F.3d 1241 (11th Cir. 2010), supports Speech
          First’s position. In that case, we held that a lawyer’s speech was
          chilled—and that he therefore had standing to sue—where certain
          Florida bar rules failed to provide a “person of ordinary intelligence


               2. “Suppose I were to use my opportunity to speak as a student on cam-
                  pus and I were to say that the immigration laws of the United States
                  are deeply flawed, that unbridled open immigration is a danger to
                  America on a variety of levels. We ought to throw up a wall, etc., etc.,
                  etc. Would that speech be proscribed under the harassment policy?
                  Might not a student on campus who fell into the category of being a
                  ‘dreamer’ take deep offense to that and say that that constituted har-
                  assment [within the meaning of the] policy? It was severe. It went to
                  his very right to be where he was, to learn on that campus.” Id. at
                  31:36–32:33.
               3. “Suppose [a student] were to say, at a time that the University allows
                  her or him to speak, that the Palestinian movement is antisemitic, it’s
                  riddled with antisemitism from beginning to end. Would that speech
                  amount to harassment?” Id. at 41:39–42:00.
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          a reasonable opportunity to know what is prohibited and fail[ed] to
          provide explicit standards for those who apply them.” Id. at 1254
          (quotation omitted). Like the lawyer in Harrell, the students here
          are indisputably subject to the discriminatory-harassment policy.
          And like the regulations in Harrell, UCF’s policy fails to provide
          students with specific enough information to determine whether
          any particular statement is permitted or prohibited.
                Given the discriminatory-harassment policy’s astonishing
          breadth—and slipperiness—we think it clear that a reasonable stu-
          dent could fear that his speech would get him crossways with the
          University, and that he’d be better off just keeping his mouth shut.
          That sort of “objective chill” suffices to give the affected students—
          and thus Speech First—standing.
                                            2
                  The district court held that Speech First lacked standing to
          challenge the bias-related-incidents policy because, the court said,
          the JKRT couldn’t punish students itself but, rather, could only re-
          fer them to other university actors for discipline. We hold that the
          district court erred in focusing so singularly on the JKRT’s power
          to punish. The reason, already explained, is that a government ac-
          tor can objectively chill speech—through its implementation of a
          policy—even without formally sanctioning it. Punishment is no
          doubt relevant to the objective-chill analysis, and may well be suf-
          ficient to prove the requisite chill, but analogous precedent makes
          clear that it is not decisive and, in any event, is not uniformly nec-
          essary.
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                 The seminal case is Bantam Books, Inc. v. Sullivan, 372 U.S.
          58 (1963). There, the Supreme Court considered the constitution-
          ality of certain actions of the “Rhode Island Commission to En-
          courage Morality in Youth,” whose charge it was to “educate the
          public concerning any book, picture, pamphlet, ballad, printed pa-
          per or other thing containing obscene, indecent or impure lan-
          guage, or manifestly tending to the corruption of the youth.” Id.
          at 59. The commission’s usual practice was to notify a bookseller
          “on official . . . stationery that certain designated books or maga-
          zines distributed by him had been reviewed by the Commission
          and had been declared by a majority of its members to be objec-
          tionable for sale,” to “thank[ him] in advance[] for his ‘coopera-
          tion,’” to “remind[ him] of the Commission’s duty to recommend
          to the Attorney General prosecution of purveyors of obscenity,”
          and to inform him that “[c]opies of the lists of ‘objectionable’ pub-
          lications were circulated to local police departments.” Id. at 61–63.
                 The state defended against the bookseller’s contention that
          the challenged practices chilled his First Amendment rights on the
          ground that the commission had no formal disciplinary authority:
          “[I]t does not regulate or suppress obscenity but simply exhorts
          booksellers and advises them of their legal rights.” Id. at 66. The
          Court rejected as “untenable” the state’s argument, which was
          “premised on the Commission’s want of power to apply formal le-
          gal sanctions.” Id. The Court likewise rejected the state’s conten-
          tion that the bookseller’s “compliance with the Commission’s di-
          rectives” was in any meaningful sense “voluntary,” despite the fact
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          that a bookseller was technically “‘free’ to ignore” that body’s no-
          tices: “People do not,” the Court emphasized, “lightly disregard
          public officers’ thinly veiled threats to institute criminal proceed-
          ings against them if they do not come around.” Id. at 68. Rather,
          the Court held that even “informal sanctions”—including “coer-
          cion, persuasion, and intimidation”—can sufficiently inhibit ex-
          pression as to violate the First Amendment, and to give a plaintiff
          standing to sue. Id. at 64 n.6, 67. It is necessary, the Court held, to
          “look through forms to the substance and recognize that informal
          censorship may sufficiently inhibit”—i.e., chill—“the circulation of
          publications to warrant injunctive relief.” Id. at 67.
                 The Second Circuit’s decision in Okwedy v. Molinari, 333
          F.3d 339 (2d Cir. 2003) (per curiam), is similar. The plaintiffs in that
          case hired a billboard company to display signs in Staten Island de-
          nouncing homosexuality. Id. at 340. The Staten Island Borough
          president sent a letter to the billboard company stating that the
          signs were “unnecessarily confrontational and offensive” and “con-
          vey[ed] an atmosphere of intolerance . . . [un]welcome in our Bor-
          ough,” and he asked a representative of the company to contact the
          “Chair of [his] Anti-Bias Task Force . . . to discuss further the issues
          [he had] raised in th[e] letter.” Id. at 341–42. Capitulating, the bill-
          board company removed the signs. Id. at 342.
                 When the plaintiffs sued, the district court dismissed their
          action, “rel[ying] heavily on . . . the fact” that the borough presi-
          dent “did not have direct regulatory or decisionmaking authority”
          over the billboard company. Id. at 343. The Second Circuit
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          reversed, holding that “[a]lthough the existence of regulatory or
          other direct decisionmaking authority is certainly relevant to the
          question of whether a government official’s comments were un-
          constitutionally threatening or coercive, a defendant without such
          direct regulatory or decisionmaking authority can also exert an im-
          permissible type or degree of pressure.” Id. The billboard com-
          pany, the court of appeals emphasized, “could reasonably have be-
          lieved,” based on the information available to it, that the borough
          president “intended to use his official power to retaliate against it if
          it did not respond positively to his entreaties.” Id. at 344.
                 Bantam Books and Okwedy demonstrate a commonsense
          proposition: Neither formal punishment nor the formal power to
          impose it is strictly necessary to exert an impermissible chill on
          First Amendment rights—indirect pressure may suffice. To be
          sure, the University wasn’t quite as heavy-handed here as were the
          government actors in Bantam Books and Okwedy. But just as
          surely, the students targeted here are—for the most part—teenag-
          ers and young adults who, it stands to reason, are more likely to be
          cowed by subtle coercion than the relatively sophisticated business
          owners in those cases. Cf. Fare v. Michael C., 442 U.S. 707, 725
          (1979) (considering a defendant’s age in determining whether a Mi-
          randa waiver is voluntary); Schneckloth v. Bustamonte, 412 U.S.
          218, 226 (1973) (considering a defendant’s “youth” as a factor in de-
          termining whether his consent to a search was voluntary); United
          States v. Owen, 963 F.3d 1040, 1049 (11th Cir. 2020) (considering a
          defendant’s age in determining whether the “waiver of his right to
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          counsel was knowing and voluntary”). 4 And the question for us is
          whether the average college-aged student would be intimidated—
          and thereby chilled from exercising her free-speech rights—by sub-
          jection to the bias-related-incidents policy and the JKRT’s role in
          enforcing it.
                  The answer to that question, we think, is yes. No reasonable
          college student wants to run the risk of being accused of “offen-
          sive,” “hostile,” “negative,” or “harmful” conduct—let alone “hate
          or bias.” Nor would the average college student want to run the
          risk that the University will “track[]” her, “monitor[]” her, or
          mount a “comprehensive response[]” against her. And as with the
          discriminatory-harassment policy, the breadth and vagueness of
          the bias-related-incidents policy exacerbates the chill that the aver-
          age student would feel. The policy, for instance, reaches “any be-
          havior or action”—even if both “legal” and “unintentional”—that
          is “directed towards an individual or group” based on “actual or
          perceived identity characteristics”—including but not limited to


          4 There is, we observe, a certain irony in the facts (1) that UCF created the
          JKRT to address situations in which students felt intimidated or marginalized
          and (2) that now, Speech First’s members claim to have been intimidated and
          marginalized by the JKRT—“kind of like . . . snowflakes all around.” Oral Arg.
          at 10:10–10:51. We asked Speech First’s lawyer at oral argument why every-
          one shouldn’t just “put on their big boy and big girl pants” and deal with some
          adversity. Id. His answer, we think, captures a valid distinction: “The state is
          a really big boy.” Id. at 10:52–11:20. The University—i.e., the state—can far
          more easily intimidate, and thereby objectively chill, college students than can
          those students’ peers. And objective chill is the standard.
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          those rooted in any of at least 11 different traits. So too, the policy
          defines a “bias act” as anything that “may contribute to creating an
          unsafe, negative, unwelcoming environment [for] the victim, or
          anyone who shares the same social identity as the victim, and/or
          community members of the university.” And the policy applies to
          a non-exhaustive laundry list of behaviors—including, among oth-
          ers, “graffiti [and] signs,” “confrontation,” and “gestures.” Pair that
          broad, vague, and accusatory language with the task-force-ish
          name of the investigating organization—the Just Knights Response
          Team—and we think it clear that the average college student
          would be intimidated, and quite possibly silenced, by the policy.
          Because the bias-related-incidents policy objectively chills student
          speech, Speech First’s members have standing to challenge it. 5
                                                III
                 On, then, to the merits. We consider four factors when de-
          termining the propriety of preliminary injunctive relief: (1) sub-
          stantial likelihood of success on the merits, (2) irreparable harm,
          (3) the balance of equities, and (4) the public interest. Gonzalez v.
          Governor of Ga., 978 F.3d 1266, 1271 (11th Cir. 2020). Likelihood


          5To be clear, the fact that the JKRT’s website once refers to the accused stu-
          dent’s participation as “voluntary” doesn’t change the overall tenor of the mes-
          sage conveyed there—namely, that if your speech crosses our line, we will
          come after you. The freedom that a student has to ignore the JKRT process is
          akin, we think, to the freedom that a child has to refuse his parent when she
          asks, “Would you please clean up your room?” Cf. Bantam Books, 372 U.S. at
          68.
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          of success on the merits “is generally the most important of the
          four factors.” Id. at 1271 n.12 (quotation omitted).
                                            A
                We begin with the discriminatory-harassment policy. We
          conclude that Speech First is substantially likely to establish that
          the policy is both (1) impermissibly overbroad and (2) a content-
          and viewpoint-based restriction of speech.
                                            1
                 The discriminatory-harassment policy is almost certainly
          unconstitutionally overbroad. The overbreadth doctrine is de-
          signed “to prevent the chilling of protected expression.” Massachu-
          setts v. Oakes, 491 U.S. 576, 584 (1989). A regulation that covers
          substantially more speech than the First Amendment allows is
          overbroad and thus invalid. See FF Cosms. FL, Inc. v. City of Mi-
          ami Beach, 866 F.3d 1290, 1303 (11th Cir. 2017). We’ve already
          plowed much of this ground in assessing Speech First’s standing to
          sue, but briefly, the policy (1) prohibits a wide range of “verbal,
          physical, electronic, and other” expression concerning any of (de-
          pending on how you count) some 25 or so characteristics; (2) states
          that prohibited speech “may take many forms, including verbal
          acts, name-calling, graphic or written statements” and even “other
          conduct that may be humiliating”; (3) employs a gestaltish “totality
          of known circumstances” approach to determine whether particu-
          lar speech, for instance, “unreasonably . . . alters” another student’s
          educational experience; and (4) reaches not only a student’s own
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          speech, but also her conduct “encouraging,” “condoning,” or “fail-
          ing to intervene” to stop another student’s speech.
                 The policy, in short, is staggeringly broad, and any number
          of statements—some of which are undoubtedly protected by the
          First Amendment—could qualify for prohibition under its sweep-
          ing standards. To take a few obvious examples, the policy targets
          “verbal, physical, electronic or other conduct” based on “race,”
          “ethnicity,” “religion [or] non-religion,” “sex,” and “political affilia-
          tion.” Among the views that Speech First’s members have said
          they want to advocate are that “abortion is immoral,” that the gov-
          ernment “should not be able to force religious organizations to rec-
          ognize marriages with which they disagree,” that “affirmative ac-
          tion is deeply unfair,” that “a man cannot become a woman be-
          cause he ‘feels’ like one,” that “illegal immigration is dangerous,”
          and that “the Palestinian movement is anti-Semitic.” Whatever the
          merits or demerits of those sorts of statements, they seem to us to
          constitute “core political speech,” with respect to which “First
          Amendment protection is ‘at its zenith.’” Buckley v. Am. Const. L.
          Found., Inc., 525 U.S. 182, 183 (1999) (citation omitted); accord,
          e.g., McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 347 (1995).
          Because the discriminatory-harassment policy restricts political ad-
          vocacy and covers substantially more speech than the First Amend-
          ment permits, it is fatally overbroad.
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                                            2
                 The University’s policy isn’t just overbroad, it’s also an im-
          permissible content- and viewpoint-based speech restriction—or,
          at the very least, likely so.
                  “Content-based laws—those that target speech based on its
          communicative content—are presumptively unconstitutional and
          may be justified only if the government proves that they are nar-
          rowly tailored to serve compelling state interests.” Reed v. Town
          of Gilbert, 576 U.S. 155, 163 (2014); R.A.V. v. City of St. Paul, 505
          U.S. 377, 382 (1992) (“Content-based regulations are presumptively
          invalid.”). A governmental regulation of speech is content-based if
          it applies by its terms to speech “because of the topic discussed” or
          if, even though facially neutral, it “cannot be justified without ref-
          erence to the content” of the speech. Reed, 576 U.S. at 163–64
          (quotation marks omitted). In other words, a regulation is content-
          based if it “suppress[es], disadvantage[s], or impose[s] differential
          burdens upon speech because of its content,” Turner Broadcasting
          System, Inc. v. F.C.C., 512 U.S. 622, 642 (1994)—i.e., if it draws “fa-
          cial distinctions . . . defining regulated speech by particular subject
          matter.” Reed, 576 U.S. at 163–64.
                 Viewpoint discrimination is even more anathematic to the
          First Amendment: “When the government targets not subject
          matter, but particular views taken by speakers on a subject, the vi-
          olation of the First Amendment is all the more blatant. Viewpoint
          discrimination is thus an egregious form of content discrimina-
          tion.” Rosenberger v. Rectors and Visitors of the Univ. of Virginia,
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          515 U.S. 819, 829 (1995) (citation omitted). The Supreme Court
          has reiterated time and again—and increasingly of late—the “bed-
          rock First Amendment principle” that “[s]peech may not be banned
          on the ground that it expresses ideas that offend.” Matal v. Tam,
          137 S. Ct. 1744, 1751 (2017). “[R]estrictions based on content must
          satisfy strict scrutiny, and those based on viewpoint are prohib-
          ited,” seemingly as a per se matter. Minn. Voters All. v. Mansky,
          138 S. Ct. 1876, 1885 (2018); see also, e.g., Iancu v. Brunetti, 139 S.
          Ct. 2294, 2299 (2019) (“The government may not discriminate
          against speech based on the ideas or opinions it conveys.”).
                  UCF’s discriminatory-harassment policy seems to us both a
          content- and a viewpoint-based speech restriction. It is content-
          based because the University “impose[s] differential burdens upon
          speech” on account of the topics discussed, Turner, 512 U.S. at 642,
          and draws “facial distinctions . . . defining regulated speech by
          particular subject matter,” Reed, 576 U.S. at 163, when it prohibits
          speech about any of a long list of characteristics—e.g., race, sex,
          political affiliation, etc. Because the policy is a content-based re-
          striction, it must satisfy strict scrutiny, and we doubt it can. Alt-
          hough the University may have a compelling interest in preventing
          students from disrupting its educational environment, its policy
          doesn’t seem to us to be narrowly tailored to that end. As already
          explained, the policy covers speech that pertains to any of a num-
          ber of characteristics, can take any of a variety of forms (including
          “verbal acts” and “written statements,” and “other conduct that
          may be humiliating”), and that is deemed, by reference to a non-
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          exhaustive seven-factor test, to “unreasonably . . . alter” another
          student’s educational experience—and, indeed, to the acts of “con-
          doning or encouraging,” or even “failing to intervene” to stop an-
          other from speaking. That, with respect, is the opposite of narrow
          tailoring.
                 In any event, the discriminatory-harassment policy likely
          goes beyond content-discrimination to discriminate on the basis of
          viewpoint. Even within the category of harassing speech, UCF pro-
          hibits only speech that is “discriminatory.” To borrow the Su-
          preme Court’s recent observation about similarly loaded terms in
          one of the Lanham Act’s trademark registration provisions, which
          it found impermissibly viewpoint-based, “[t]he meaning[] of” the
          word “discriminatory” is “not mysterious”—it connotes speech
          that denigrates rather than validates certain characteristics. Iancu,
          139 S. Ct. at 2299. Here, as there, “resort to [the] dictionaries,” id.,
          confirms that commonsense conclusion, see, e.g., Discriminatory,
          Oxford English Dictionary (online ed.) (“That treats a person or
          group in an unjust or prejudicial manner.”). In prohibiting only
          one perspective, UCF targets “particular views taken by” students,
          Rosenberger, 515 U.S. at 829, and thereby chooses winners and los-
          ers in the marketplace of ideas—which it may not do, see, e.g.,
          Mansky, 138 S. Ct. at 1885; Tam, 137 S. Ct. at 1767 (Kennedy, J.,
          concurring in part and concurring in the judgment) (“The danger
          of viewpoint discrimination is that the government is attempting
          to remove certain ideas or perspectives from a broader debate.
          That danger is all the greater if the ideas or perspectives are ones a
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          particular audience might think offensive, at least at first hear-
          ing.”). 6


          6 There is one loose end. The University seeks the benefit of the more defer-
          ential First Amendment standard articulated in Tinker v. Des Moines Inde-
          pendent Community School District, 393 U.S. 503 (1969), and its progeny. In
          particular, the University asserts that its discriminatory-harassment policy
          complies with Tinker because it prevents campus disruption. The district
          court likewise relied heavily on Tinker’s indulgent framework.
                    There are three problems. First, it’s not at all clear that Tinker’s more
          lenient standard applies in the university—as opposed to the elementary- and
          secondary-school—setting. The caselaw sends mixed signals. On the one
          hand, this Court applied Tinker to speech regulations in a college setting
          where a student claimed that the college’s anti-stalking policy was “unconsti-
          tutionally overbroad and vague.” Doe v. Valencia Coll., 903 F.3d 1220, 1229
          (11th Cir. 2018). And the Supreme Court once cited Tinker for the proposition
          that state universities have an “undoubted prerogative to enforce reasonable
          rules governing student conduct”—even while reaffirming that “state colleges
          and universities are not enclaves immune from the sweep of the First Amend-
          ment.” Papish v. Bd. of Curators of Univ. of Mo., 410 U.S. 667, 669–70 (1973).
          On the other hand, the Supreme Court has emphasized that its “precedents
          . . . leave no room for the view that, because of the acknowledged need for
          order [in state educational institutions,] First Amendment protections should
          apply with less force on college campuses than in the community at large,”
          Healy v. James, 408 U.S. 169, 180 (1972), and further, that academic freedom
          in a university setting is “a special concern of the First Amendment, which
          does not tolerate laws that cast a pall of orthodoxy over the classroom,” and
          that universities are “peculiarly the marketplace of ideas.” Keyishian, 385 U.S.
          at 603 (cleaned up). In the same way, we have emphasized “that the dangers
          of viewpoint discrimination are heightened in the university setting.” Gay
          Lesbian Bisexual All. v. Pryor, 110 F.3d 1543, 1550 (11th Cir. 1997) (citing Ros-
          enberger, 515 U.S. 819 (1995)).
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                                                 3
                 Having concluded that Speech First is likely to succeed on
          the merits—the most important preliminary-injunction criterion—
          we turn briefly to the remaining criteria. First, in the absence of a
          preliminary injunction, Speech First would undoubtedly suffer ir-
          reparable harm—which we have called “the sine qua non of injunc-
          tive relief,” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)

                   Second, and separately, the Supreme Court recently limited Tinker’s
          application, even in the high-school setting. It held that “courts must be more
          skeptical of a school’s efforts to regulate off-campus speech” and that “[w]hen
          it comes to political or religious speech that occurs outside school or a school
          program or activity, the school will have a heavy burden to justify interven-
          tion.” Mahanoy Area Sch. Dist. v. B. L. ex rel. Levy, 141 S. Ct. 2038, 2046
          (2021). Accordingly, even if the Tinker framework applied here as a general
          matter, UCF’s policy, which reaches beyond the classroom, may well fall (at
          least in part) outside of it.
                   Finally, by its own terms, Tinker’s deferential standard doesn’t apply
          to viewpoint-based restrictions like the one we confront here. The Court said
          there that “[i]n order for the State in the person of school officials to justify
          prohibition of a particular expression of opinion, it must be able to show that
          its action was caused by something more than a mere desire to avoid the dis-
          comfort and unpleasantness that always accompany an unpopular viewpoint.”
          393 U.S. at 509. The Supreme Court has consistently held that the govern-
          ment may not regulate on the basis of viewpoint even within a category of
          otherwise proscribable speech. See, e.g., R.A.V., 505 U.S. at 383–390 (explain-
          ing that even if some categories of speech are unprotected by the First Amend-
          ment, the government may not regulate within an excluded category based
          on the viewpoint expressed). So even if UCF could (per Tinker) restrict har-
          assing speech that disrupts the school’s functions, it couldn’t do so, as it has
          here, based on the viewpoint of that speech. Put simply, the University can’t
          pick and choose which types of disruptive speech to prohibit.
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          (citations and internal quotations omitted). We have expressly
          held that “an ongoing violation of the First Amendment constitutes
          an irreparable injury.” FF Cosms., 866 F.3d at 1298. Second, on
          the balance of equities, we can see arguments going both ways: On
          the one hand, Speech First’s members’ free-speech rights will be
          impaired if they are silenced; on the other hand, the University (and
          other students) may have to tolerate some unprotected conduct.
          Finally, we think that the public-interest factor favors granting the
          injunction. As the Supreme Court has stated, “[t]he First Amend-
          ment, in particular, serves significant societal interests.” First Nat’l
          Bank of Bos. v. Bellotti, 435 U.S. 765, 776 (1978); see also Demo-
          cratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1327 (11th Cir.
          2019) (“[T]he public interest is served when constitutional rights
          are protected.”). Although the First Amendment sometimes al-
          lows hurtful expression, that’s a cost that “We the People” have
          accepted as necessary to protect free-speech interests more gener-
          ally. See Otto, 981 F.3d at 864 (“The First Amendment exists pre-
          cisely so that speakers with unpopular ideas do not have to lobby
          the government for permission before they speak.”).
                                          * * *
                  After considering each of the four factors—and in deference
          to the first and second as the most significant—we hold that Speech
          First is entitled to an injunction of the discriminatory-harassment
          policy.
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                                             B
                  Because it found (erroneously, we conclude) that Speech
          First lacked standing to challenge the bias-related-incidents policy,
          the district court never considered that policy on the merits. Ac-
          cordingly, we remand to the district court to decide in the first in-
          stance whether the chill caused by the bias-related-incidents policy
          is substantial enough to violate the First Amendment. See Calla-
          han v. U.S. Dep’t of Health & Hum. Servs., 939 F.3d 1251, 1266
          (11th Cir. 2019) (“We are, after all, a court of review, not a court of
          first view.”). Relatedly, we leave it to the district court to deter-
          mine in the first instance whether and to what extent the objective
          chill that gives Speech First Article III standing, see supra at 23–28,
          likewise establishes its claim on the merits.
                                             IV
                 Nowhere is free speech more important than in our leading
          institutions of higher learning. Colleges and universities serve as
          the founts of—and the testing grounds for—new ideas. Their chief
          mission is to equip students to examine arguments critically and,
          perhaps even more importantly, to prepare young citizens to par-
          ticipate in the civic and political life of our democratic republic. It’s
          hardly surprising, then, that the Supreme Court has “long recog-
          nized that, given the important purpose of public education and
          the expansive freedoms of speech and thought associated with the
          university environment, universities occupy a special niche in our
          constitutional tradition.” Grutter v. Bollinger, 539 U.S. 306, 329
          (2003); see also Healy, 408 U.S. at 180 (“The college classroom with
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          its surrounding environs is peculiarly the ‘marketplace of ideas.’”);
          Sweezy v. State of N.H. by Wyman, 354 U.S. 234, 262 (1957)
          (Frankfurter, J., concurring) (emphasizing that a “free society” de-
          pends “on free universities”). Accordingly, it is imperative that
          colleges and universities toe the constitutional line when monitor-
          ing, supervising, and regulating student expression. Despite what
          we presume to be the very best of intentions, it seems to us sub-
          stantially likely that the University of Central Florida crossed that
          line here.
                                         * * *
                  For the foregoing reasons, we hold (1) that Speech First has
          standing to challenge both the discriminatory-harassment and bias-
          related-incidents policies, (2) that the district court abused its dis-
          cretion in refusing to preliminarily enjoin the discriminatory-har-
          assment policy, and (3) that the district court should determine in
          the first instance whether Speech First is entitled to a preliminary
          injunction of the bias-related-incidents policy.
                 REVERSED in part, VACATED in part, and REMANDED.
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          21-12583               MARCUS, J., concurring                        1

          MARCUS, Circuit Judge, concurring:
                I join fully in Judge Newsom’s opinion for this Court. The
          University of Central Florida’s discriminatory-harassment policy
          almost surely violates the First Amendment. It is grievously over-
          broad, and it is a content- and viewpoint-based restraint on free
          speech.
                  I write separately to underscore the grave peril posed by a
          policy that effectively polices adherence to intellectual dogma.
          History provides us with ample warning of those times and places
          when colleges and universities have stopped pursuing truth and
          have instead turned themselves into cathedrals for the worship of
          certain dogma. By depriving itself of academic institutions that
          pursue truth over any other concern, a society risks falling into the
          abyss of ignorance. Humans are not smart enough to have ideas
          that lie beyond challenge and debate. A discriminatory-harassment
          policy that assumes the most popular idea or the idea that least “in-
          terferes with, limits, deprives, or alters the terms or conditions of
          education” is the correct one is plainly at odds with the First
          Amendment and our notion of free speech.
                It is in a university setting, perhaps above all others, that our
          foundational ideas must be subject to examination and re-examina-
          tion. The process is not necessarily gentle or even cordial, but it
          cannot be cut off because sometimes it is unpleasant or provocative
          or exasperating. “Education should not be intended to make peo-
          ple comfortable, it is meant to make them think. Universities
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          2                      MARCUS, J., concurring                 21-12583

          should be expected to provide the conditions within which hard
          thought, and therefore strong disagreement, independent judg-
          ment, and the questioning of stubborn assumptions, can flourish in
          an environment of the greatest freedom.” Report of the Commit-
          tee on Freedom of Expression, UNIV. OF CHICAGO (2015) (quoting
          President Hanna Holborn Gray).
                 The University’s discriminatory-harassment policy touches
          on every conceivable topic that may come up on a college campus.
          Religion, political affiliation, ethnicity, national origin, age, gender
          identity or expression, and genetic information are just a select few
          targeted by the policy. The specter of punishment for expressing
          unorthodox views on these topics stifles rigorous intellectual de-
          bate. And the harm is not limited to professors and students while
          they are on campus. Our future civic and scientific leaders surely
          will take these values with them after graduation. See Maj. Op. at
          37-38.
                  A university that has placed its highest premium on the pro-
          tection of feelings or safe intellectual space has abandoned its core
          mission. The protection of feelings or the creation of safe space
          rightly might be the foremost goal in some settings, like at a family
          dinner, but it is not right for a university. Its unambiguous mission
          must remain the pursuit of truth. John Stuart Mill put it best in his
          classic work, On Liberty:
                 The peculiar evil of silencing the expression of an
                 opinion is that it is robbing the human race; posterity
                 as well as the existing generation; those who dissent
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          21-12583              MARCUS, J., concurring                      3

                from the opinion, still more than those who hold it.
                If the opinion is right, they are deprived of the oppor-
                tunity of exchanging error for truth; if wrong, they
                lose, what is almost as great a benefit, the clearer per-
                ception and livelier impression of truth produced by
                its collision with error.

                JOHN STUART MILL, ON LIBERTY 19 (1859).
          A university that turns itself into an asylum from controversy has
          ceased to be a university; it has just become an asylum.
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          21-12583                    STORY, J., concurring                                1

          STORY, District Judge, concurring:
                  I concur in the opinion of the Court but write separately to
          make clear that the opinion does not prohibit a university from
          establishing a program that provides students an opportunity to
          engage in civil discussions concerning differing viewpoints.1
          “Colleges and universities unquestionably benefit from the flow of
          ideas, debate, and deliberation on campus. These institutions
          should strive to foster an environment where critical thoughts, and
          sometimes strong disagreement, can flourish.” Speech First, Inc. v.
          Killeen, 968 F.3d 628, 632 (7th Cir. 2020) (citation and quotations
          omitted). The only restriction placed on such programs by today’s
          decision is an important one. The program may not be designed in
          such a way as to chill First Amendment rights. Insisting on
          compliance with the First Amendment should not prevent
          universities from exploring ways to lower the temperature on
          debate and help their students learn how to listen to and
          understand opposing viewpoints. As acknowledged by Speech
          First, the creation of such programs without running afoul of the
          First Amendment is possible. Oral Arg. at 54:08-55:49; Appellant
          Reply Br. at 16-17.


          1I do not mean to delve too deeply into the merits of the claim based on the
          bias-related-incidents policy. I recognize that as a court of review, it is not for
          us to decide this issue in the first instance. However, as it has been suggested
          the district court may determine that “the objective chill that gives Speech
          First Article III standing, likewise establishes its claim on the merits,” I offer
          these observations.
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                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303

 David J. Smith                                                                       For rules and forms visit
 Clerk of Court                                                                       www.ca11.uscourts.gov


                                            May 02, 2022

  MEMORANDUM TO COUNSEL OR PARTIES

  Appeal Number: 21-12583-DD
  Case Style: Speech First, Inc. v. Alexander Cartwright
  District Court Docket No: 6:21-cv-00313-GAP-GJK

  Electronic Filing
  All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website. Enclosed
  is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
  pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP
  41(b).

  The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
  filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
  provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
  timely only if received in the clerk's office within the time specified in the rules. Costs are
  governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
  attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

  Please note that a petition for rehearing en banc must include in the Certificate of Interested
  Persons a complete list of all persons and entities listed on all certificates previously filed by
  any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
  reheard must be included in any petition for rehearing or petition for rehearing en banc. See
  11th Cir. R. 35-5(k) and 40-1 .

  Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
  compensation for time spent on the appeal no later than 60 days after either issuance of mandate
  or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
  the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
  cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
  system.
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  Pursuant to Fed.R.App.P. 39, costs taxed against appellant.

  Please use the most recent version of the Bill of Costs form available on the court's website at
  www.ca11.uscourts.gov.

  For questions concerning the issuance of the decision of this court, please call the number
  referenced in the signature block below. For all other questions, please call Bradly Wallace
  Holland, DD at 404-335-6181.

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Jeff R. Patch
  Phone #: 404-335-6151

                                                         OPIN-1A Issuance of Opinion With Costs
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